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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

IN RE:                                         )       Chapter 11
                                               )
W.R. GRACE & CO., et al.,                      )      Case No. 01-1139 (JKF)
                                               )      Jointly Administered
                        Debtors.               )
                                               )

                                   CERTIFICATE OF SERVICE

          I, James C. Carignan, do hereby certify that on February 10, 2011, I served the Motion Of

BNSF Railway Company For Reconsideration Of The Memorandum Opinion Regarding

Objections To Confirmation Of First Amended Joint Plan Of Reorganization And Recommended

Supplemental Findings Of Fact And Conclusions Of Law [Docket No. 26154] And The

Recommended Findings Of Fact, Conclusions Of Law And Order Regarding Confirmation Of

First Amended Joint Plan Of Reorganization As Modified Through December 23, 2010 [Docket

No. 26155] (the “Motion”), and the Notice for same, by causing copies thereof to be served via

via hand delivery upon the entities on the service list attached hereto as Exhibit A.

          I further certify that on February 10, 2011, I served the Motion and the Notice by causing

copies thereof to be served via first class mail, postage prepaid, upon the entities on the service

list attached hereto as Exhibit B.




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            EXHIBIT A
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             EXHIBITB
                     Case 01-01139-AMC             Doc 26241-3   Filed 02/10/11   Page 6 of 34




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